                       CASE 0:19-cr-00097-NEB-BRT Doc. 55 Filed 06/08/20 Page 1 of 7


TRULINCS 21990041 - VANG, LA - Unit: RCH-B-A


FROM: Unit Team 1                                                                                            RECEryET
TO:21990041
SUBJECT: RE:***lnmate to Staff Message***
DATE: 0411712020 02:52:03 PM
                                                                                                              JUN       0I   z0zn
                                                                                                                                    uu"'h   ':
                                                                                                      cLEBK,
You do not meet the cunent criteria for the early Home Detention.
                                                                                                                ti J;|ffi,i
>>> -^!"VANG, -^!LA" <21 990041 @inmatemessage.com>          41   17 12020   1   2:0 1 PM >>>
To: To Whom it May Concern
Inmate Work Assignment: Kitchen

-----RlS Coordinator on 419t2020 7:42 AM wrote:


we will review your request.

>>> -^!"VANG, -^!LA" <21990041@inmatemessage.com> 41812020 5:27 PM >>>
To: Ms. Pasky
Inmate Work Assignment: Kitchen

My name is La Vang. I am currently serving a 18 months sentence with an outdate of April 18, 2021 with home confinement I
    be release Feb 18, 2021. I am a first time offender and serving a non-violent case and have done 3 months of my sentence.
wif f
I was charge in Anoka County on August 3,2018 and was on pretrial release until my sentence in federal court on November
2019. I self surrender here January 8,2020.

I ask for compassionate release due to extra ordinary circumstances stemming from COVID-19 virus problems. I pose no
threats to society. As previously stated, I have been on pretrial release for over a year with no troubles. I have been giving clean
UA to both Anoka county for over a year and federal for 6 months. I have veritable re-entry plan, amazing work evaluation, and
excellent work performance. I have completed outpatient treatment before self surrending here. I have enrolled myself in
NRDAP and a keyboarding and nutritional class. I have no prior trouble while in here and outside of prison. I have a short
sentence and home confinement present low risk for contracting COVID-19 rather than being in a BOP facilty. I am not a danger
to communities, hence being granted pretrial release. I know my age do not qualify for compassionate release, but a short
sentence, non-violent crime will decrease the chances of me contracting COVID-19 while being confine to my home.

I have no medical hold or detainers. Attorney William Ban stated, "although inmated revieved a sentence for the crime they
committed, they were never sentence to death." The corona virus is a deadly virus and has proven to kill people outside as well
as inmated in both state and federal prisons. I would complete my time in home confinement because I was doing good on
pretrial release for over a year as previously stated. I hope you consider my motion for compassionate release based on the
Care Act , section 12003 (BX2).

Thank you,
La Vang
21990-041




                                                                                                       SCANNED

                                                                                                       JUN 0 8     2020
                                                                                                                    w%
                                                                                                  U,S. DISTRICT COURT   SI
                          CASE 0:19-cr-00097-NEB-BRT Doc. 55 Filed 06/08/20 Page 2 of 7
                                                                                                                              P'wG)
'RULINCS79118080-PROO,JOECRUZ-Unit:RCH-B-A



-he                                                      week'
      6th should act on the BOP's stay motion early this
                                                   LEXIS 2951 (Supreme court' May 26', 2020)
villiams v. wilson, case No. 19A-1041, 2020 U.S.
                                                                                                at federal prison in ohio (May
           plain Dealer, National law enforcement leaders urge the release, transfer of inmates
)leveland
l8)
i><>

]AIT AND SWITCH?
                                                study-and-comment         perlgqE:l y€ar on developing a risk and need
t-he Dept. of Justice conducted a 1o-month long                                                                               to
                                                                   or;'iArrERN"' Everyone was to be scored on the likelihood
rssessment, a process that resurted tast .ranua-ry in tne aooption                                        category'
                                                              inmate in the minimum, row, medium or high
e_offend after being rereased, with the ,.oi".-pi.u"ing each
                                                                                                                scores' ln almost
                                                                  herped severar peopreestimate their PATTERN
Jsing the revised PATTERN matrix adopted in January,       Lqry.g
                                                       pAtrEnru scJres rro* tn" eoe, they were   higher, sometimes  much higher'
3very case, when the peopre I herped receiveJ tneir
ano ine reason for the discrepancy was a mystery'
                                                                                               obtained a 20-page policy document
propublica, an independent investigative journalism nonprofit last week reported it had
                                                                                                  harder for an inmate to qualify as
crafted by the Bop eartier this year that  seffi ;L;;          FaTTicr.r ri"no"ids   to make  "it
                                                                                                                            according to
                                                                tne maximum number of points for each risk category'
minimum risk." The draft document dramatically changes                                   it can be strategically   altered to make sure
propublica. ,,lt really tanks the whole enterpiii6 if, onde an instrument is selected,                       risk assessment'   told
                                         granao;'Ga#"it, orru univeisiiv raw profess.o.l who studies
low-risk people don,t get released,,,                      "
propublica. "lf you          *      cui points, you've effectively changed the instrument"'
                      "#"-d
                                                                                               categories without informing the public'
propublica said a Bop spokesman confirmed to it that the Bureau had revised the risk                i'l-he interim report mentioned that
                            ,iinterim report,,, propuuic" quotes th" ;;"k;;r;n-aslraving said.
The 201g report was an                                                                                                  policy document
                                                                         was done." The sp-okesman said the draft
DOJ would seek feedback and update tt toofaccoroingty, wrricrr
"was not authorized for release."
                                            "
                                                                                                                            reportwq
ohio State University law professor Doug Bermal gr9?e.].n hi8'B5ffinq|gPslw'qf'd":ffffiil::rTrffi**
,,yet another ugly examfl" of no* the Delpartment of Jtistice acts more like a Departm
                                                                                                                  after serving only
                                                          lawyer Michael cohen was sent to home confinement
The propublica report came a week after former Trump                                  Paul Manafort, a Marshall ProjecuNBC report
a third of his sentence.. His release and that of former
                                                         Trrrp
                                                               ""r-p"ign
           ,,raising qu"rtiont about the BOP's opaque process and           "r,"iit"n
                                                                    its fairness'"
said, are
                                                                                           who were First step Act co-
propublica reported that &nators Richard Durbin (D-lllinois) and charles Grassley (R-lowa), with Barr's home confinement
                                                                to examine BOP'scompliance
 authors, said last week the DoJ,s inspector:gi;;;"'t n;;"gr6ed
 Ji.""tiu" and overall response to the COVID-19  pandemic'
                                                                                        the Feds secretly Made lt Harder for
 propublica, Bill Ban promised to Release prisoners Threatened by coronavirus Even as
                             ,,Biu
                                   Barr promised to Retease
                                                            prisoners Threatened bv coronavirus Even as the Feds secretlv
 !!ru;:ilTffi:$i?;iJr,
 Made lt HirderforThem to Get Out (May 27)
                                                           to Leave Federal Prison
 The Marshall Proiect, Michael Cohen and Paul Manafort Got
 (May 21)


 WHACK-A-MOLE
                                                                         with fresh coronavirus outbreaks at facilities that
                                                                                                                              had
 The Bop, in the new,,normal,,for coVlD-19, is praying "whack-a-mole"                                          to be on the  mend'
                                                             inmate illness at institutions that had seemed
 been coVlD-19-free a few weeks ago, as *irr dr in"r"asing                      before   (1,614). But inmate.deaths   increased from
                                                                     the week
 The number of inmate covlD-1g cases last night (1,6gg) is "ro.e io                                                 high'
 60 a week ago to 69, and ominously, tne numnlr dtiacilities
                                                             *iir, CbVro-19 cases hit'56 last week, an all-time
                                                                                             earlier said the man had recovered
 perhaps more ominous, an FCI rerminal lsland inmate died last week after the BoP had
                             CASE 0:19-cr-00097-NEB-BRT Doc. 55 Filed 06/08/20 Page 3 of 7                                       P4f    L4


RULlNCS79118080-PROO,JOECRUZ'Unit:RCH-B-A                                                                            @ l'-llp.-%?N
                                                                                                in isoration' The Los Angeles Times
                                            positive-for_the.virus gn_Apr* 16 and was fl130
rm the ilrness. Adrian sorarzano tested                                                        But  five days later -on May 15
rid the Bop deemed him "recovered" on ftriv'iO:ltini chest       t" gry* inoweo sympioms'                twile for coVlD-19' and
                                        after *iirpr"i"i"g   oi       p"i.  ;;;xietv.'ne   was  tested
  olarzanowas admitted   to a hospitar
                                               gut'rris            *orr"n"J' and he       p'onounc"d dead by hospital staff sunday'
                                                                                        *"'
rhorities said both  results were  negative.
                                                         "oidition
                                                                                                    release from FClrerminal lsland'
                                                     that  an Araska man granted compassionate
reanwhire,  the Anchorage    Dairy News-reported
                                                                                            in" eop put him on a commercial flight
,hich sti, has 32 inmate! and fbur staff i1, ,"rt"ip".iiive one o"v'o"io?'i[i!i"Io.
inn"nor"g", without ever telling him he had the virus'
                                                                                           testing on May 5, get positive-for-the-virus
                                                 allowed the BOp to swab the inmate for
he inmate,s tawyer says a chain of misfires                                  8. "There. arg :g minv institutionalfailures
                                                                                                                           you can
rb resurts on May z,         ;;;    [ir" i" nv  n"r"                  onMay                                               release
                       "ii                              "ornr"rciatywno'i"ii"i"nt"d the inmate on rris compassionate
                                           f"d;;';;bii;lerenoer
len*fy in this,,, saio oanieipoution, a
rotion.
                                                                                            Danbury and ohio on FCI Elkton
                                                           brought in connecticut about FCIgutner'
r crass action lawsuit looking a rot Iike successfur suits                                         Niorth carolina' complex' The
yas fired rast Tuesday on behaf of the inmai",          ,"verat-prisoris-ih;i;" part of tne           carolina' the washington
                                                 "itn"        civit d;;rti;;u.iJn, tn" 4cLu of North
;uit was brought by prisoners represented. dth;'il";ican                             & Strawn'
-awyers, Committee   t"i Ci"iinights anO UtU"" nn"i's' anO the law firm of Winston
                                                                                                               alleges that Butner officials
                                      ordering   Butner   to   rerease or transfer vulnerable prisoners'
lhe suit, which  seeks  an injunction                                                                        They Fave opposed motions for
,have                            steps  to a-o_oress tirl  iist< raceo uv ir," i"opte-in.tneir iuttoov
       not taken  the necessary                                                                                        sufficient speed and in
                 rerease, and  ihel  have  raiteJio  order furrougns bi ira;isfers to home confinlmeniwith physical distancing'
:ompassionate                                                               *itni. ir'r" facility to allow for adequate
;ufficient numbers. They have failed to mar.e otneiarrangei"ntr
                                                              q"aLntine,   t"iiiiii,'r"r"""ing,     nygiene, and disinfecting policies or
\nd they have failed to imptement effective ir"Lliin,                         people'"
neaningfully  modify ri""it""fpt"t"cols for staff and incarcerated
                                                                                                                       it "is clear is
                              week   that whilelhe  BOp's  covlD-1g   numbers include 230 halfway house residents'
rhe Intercept  reported  last                                                            tnan wrral appears on the   BoP     website'"
              number  of  residents  with coMb'-rg   in r"o"rar narway"n'oi!;r;hdh"t                             population'   the
that the rear                                                                                         itre daily
                    reported   that becaus"   ,or"  harfway  houses r"t"iu" per di6m.rate based on                       for a
The crime   Report                                                            "        0t"." such financial incentives
contractors,,have an incentive to keep harfway
                                                    houses u:,lujr
                                                                   "r
                                                                      il;;ffi.-criti"r
                                                  the pandemlc'-
ietuctance to send more people home during
                                                 prisons, cases in Harfway Houses are Being undercounted
The rntercept, As Coronavirus spreads in Federar
(May 28)
                                                      Vector for coronavirus (May 28)
The crime Report, Halfway Houses called Another
                                                                                          prison flew him home to Alaska (May 26)
            Daily News, He  tested positive for the coronavirus. one day later, a federal
Anchorage
                                                                                               Beg For Help (May 26)
                            prison with A Deadry covrD-1g outbreak, compromised Men
Huff post, Inside A Federar

HallananvScarantino,CaseNo'20HC2088(EDNC'filedMay26'2020)


JUNE 24 IS A HARD DATE FOR DAVIS CLAIMS
                                                                                                    28 usc 2255(0(3)' anyone seeking to
                                                    down us v Davis on June 24,2o1g-under
 Just a reminder: The supreme court handed                                                           v us analysis to 924(c) convictions'
 take advantage of the holding, wniq_extg$eJin" "at"gori""r"ppr*.r. ",iJt".lonnson
 il". r"tif JunE24,2020,tof{ea2255 raising Davis issues.
                                   22s5 motion  decided on  the merits,  you             file a    usc 2244 application with the court of
  rf you have arready had     one                                            -yorl.Tust         -28 have your proposed Davis 2255 motion
                                                                                             should
                             to nt" a second-or-ru.""rrr.    225s.  Fiil;A-"iiqa(which
  Appears for permission
  a'fiScrieol w6uld have to be submitted by the
                                                    June 24 deadline.
                                                                                                                              24 is a hard
                                                                                     lf Davis might apply to your case' June
  lf any of this is unclear,  you should.c.ontact ryll1Y:iiP,l"-gll,gofutsional'
  J"i", anO those who miss it will find the courts pretty untorglvlng'
  USvDavis,--US-..,139S.ct.2319,204L.F:d.2d757(SupremeGourt,June24,2019)
                           CASE 0:19-cr-00097-NEB-BRT Doc. 55 Filed 06/08/20 Page 4 of 7
                                                                                                                                Ptx-     t

RULlNCS79118080-PROO,JOECRUZ-Unit:RCH-B-A                                                                                                7-f_,"

ROM: Newsletter, Lisa
O: 791 18080                                                                          June
                                             in FCI Elkton Habeas LlsA Newsletter for
                                                                                                                    1
uBJECT: Supreme Court slaps Down BOP on Stay                                                                            '2020
IATE: 05/31/2020 1 0:06:22 PM
                                                            subscribers in the Federal system'
lsA publishes a free newsletter sent every Monday to inmate

idited by Thomas L. Root, M.A.., J'D'

tol.6, No.22

lut Wait, There's More!
             and Switch?
'ATTERN Bait
Vhack-A-Mole
)avis Time Running Out
:><>

}UT WAIT, THERE'S MORE!
                                                                                                                             preliminary
vlore in the continuing saga of FCI Elkton and the
                                                      pandemic in which a cleveland-based FederalJudge issued a                    to
                                                                                              of inmates   especially  vulnerable
                                   prisons ta"iiiiv'oeri"ur;alrt conditions of confinement
njunction against the eurEau of                                                          Amendment       implications)'
                                                                        loaded with 8th
lovlD-1g was likety to constitute 'deliberate indifr"r"n""" (a term
                                                                                                                            Last Tuesday'
                                                                      to ask for a stay of the district court's injunction'
 reported last week that the Bop had run to the supreme court
:he Supremes voted 6-3 to,deny the BOP's stay request'
                                                                                                                            and then to
_ast month, us District court Judge James Gwin
                                                      granted a. preliminary injunction ordering FCI Elkton to identify'
                                                                                                                        the 6th circuit to
                                                        meoicalrv uurn"i"ni" prironers. The abe
                                                                                                      promptly   asked
start transferring or releasing to home
stay the injunction, but the 6th refused.
                                         "onnn"r"ni
                                                                                                                                 ago' the
                                                                         and transfer of vulnerable inmates' Two weeks
But despite the injunction, the Bop slow-walked the identification                               home confinement, or to        explain   in
District court ordered the Bop to roosen requirementg.on ryh:_g_"r,.fi"Jl"icnnqs             ryt                        a  furlough    or
                                                                CARES Act placement, compassionate release,
detail to the court why it denied a vulnerablJinmate either
transfer.
                                                                                                                             to stay the
After the May 19 court order spelling out what Elkton was
                                                               to do right away, the BoP asked the supreme court
                                                                                      if the court of appeals   affirms the   iniunction'
preliminary injunction pending appeat of tneinpnction tothe 6th 6ircuit'ind,                 proceedings  in  this  court'"
pending the filing      iirpo.tion'of a petition ior a writ of certioraii and any further
                    "no                                                                                                           of the April
                                                                     from the get-go. Although it claimed to-want a stay
The problem with the BOp's supreme court filing was evident                                                                       pointed out in
                                                                    tne'rrrrav 16 ori"r. As th; inmate plaintiffs cheerfully
 injunction, the Bop spent much of its brief.corfLi.j.s Soout                                      jumping   the  appeals    court  to straight to
                                                                 review last week's order, and
their response, the ebp nao never asked tne oin circiit to
 SCOTUS is not allowed'

Last Tuesday, the Supremes agreed (with a caveat):
                                                                                                                           measures' The
,,[o]n May 1g, the District court issued a new order enforcing the preliminary iniunction and imposing additional
                                                                1.-g oro6r in tne U.s. court of Appeals
                                                                                                          for the sixth circuit'
Government has not sought review of or a stay of the Ma.v                                    courtC April 22 preliminary injunction
particularly in light of that procedural po"tui", in" court dLclin". to rt"v    ne  Districl
                                                                                  warrant'"
without prejudice to the Givernment seeking'a new stay if circumstances
                                                                                                                                   stay the
                                                                           BoP to come bac,k if it cannot get the 6th circuit to
The court seemed to be leaving the door open a crack, inviting.the                                          request  for stay of the
                                                                                nreo another "emergency"
latest order. lf that was the message, it worleo. on Thursday,-tne-goF
                                                             their  opposition  on Saturday'
 ili;;;ti"; ;ith the 6th Circuit. Thelnmate plaintiffs filed
                                                                                                                        and attorneys
                                                                   of current and former prosecutors, police chiefs
 Meanwhile, a brief filed in the case last Thursday_by a.coalition                 posed   by the  spread  of the virus requires an
                                                                            tnru"t
 general urged the appellate court to oacr< irog;'G;in's in;unction.-'tr,u          punfic  health  and ordering  the swift release of
                                                       popJrationsbv piLiiiizing
 immediate and significant reduction in iair ano?ison
      p"rron whJcan safely return to ihe community," the brief said'
 "u"ry
                         CASE 0:19-cr-00097-NEB-BRT Doc. 55 Filed 06/08/20 Page 5 of 7
                                                                                                                        Iv\,u   zS, LozD
                                                                                                                      ryuJ
fRULINCS 79118080 - PROO, JOE CRUZ - Unit: RCH-B-A
                                                                                                                 fu..fu7r,:+-.-
:ROM: Newsletter, Lisa
lO:791 1 8080
                                                                               Fix   LISA Newsletter for May 25,2020
IuBJECT: supreme court to Decide whether to Give BoP stay on Elkton
)ATE: 0512412020 10:06:1 5 PM
                                                             subscribers in the Federal system'
-lSA publishes a free newsletter sent every Monday to inmate

idited by Thomas L. Root, M.A.., J.D.

/ol. 6, No.21

3OP Asks supreme court to stop Federal Judge's Elkton lnjunction
fime for Phase Seven
Media, Advocacy Groups Call Out BOP'Cruel Indifference"
ith circuit lssue-s Remarkable crack sentence Reduction Ruling


3OP ASKS SUPREME COURT TO STOP FEDERAL JUDGE'S ELKTON INJUNCTION

The supreme court will decide this week whether to grant the BoP a stay of
                                                                           enforcement of a federal court order that it drop a
number of requirements for CARES Act home confinement'
                                                                                                              BoP officials at FCI
In April, the    District court for the Northern District of ohio granted a preliminary injunction ordering
                us
                                                                              prisoners_who   had risk factors  making them
Elkton to identify and start transferring or reieasing to home cdnfinemeni
                                                                                       circuit, which  denied  the BoP in an order
particularty susceptible to coVlD-19. rn" aop aipealed the injunction       to the 6th
finding no abuse of discretion.
                                                                                              Judge Gwin found that "[b]y
After losing a few weeks ago, the BoP allegedly did not do much to comply. Last Tuesday,
thumbing i-heir nose at their authority to authorize home confinement, [Elkton BOP
                                                                                   officialsl threaten staff and they threaten low
security inmates."
                                                                                              get at-risk inmates out of harm's
of g37 inmates identified  as medically vulnerable, the BoP had "made only minimal effort to
                        ,,As
                             of May g, 202O, five lawsuit class members were awaiting transfer to home confinement, and only six
way,, the Judge wrote.
othlr had been identified as maybe qualifying for home confinement,"
                                                                                 placement on home confinement under the
Judge Gwin ordered the Bop to loosen requirements at Elkton on who qualifies for
Bureau's CARES Act authoritY bY
                                                                                        sentence requirement in order to be
 eliminating requirements on length of sentence an inmate has served (reversing the 50%
eligible);

 disregarding whether the inmate had gotten any lower level shots in the last year;

 eliminating the requirement that an inmate be a    us   citizen to get home confinement;

                                                                                       and
 letting inmates with "low" PATTERN risk score be placed on CARES Act home confinement
                                                                                                   more than five years ago'
  disregarding the fact that an inmate is serving time for a "violenf' crime if the crime occurred
                                                                                            pending appeSlto the US court of
Last wednesday, the Bop asked the supreme court to stay the preliminary injunction oworking
                                                                       fte:g.oP  siia it was          assiduously to mitigate those
Appeals for the 6th circuit and to the supreme court if   necessary.
                                                                                         2020," and complained that "the district
risks within its facilities by implementing'a multi-phase plan it developed in January
court,s injunction -- now augmented by the            sweiping May 19 order - would undermine BoP's systemic response to the
                                              "orrtt on poticy-oecisions that have been assigned to expert prison administrators;
covlD-1g pandemic; intrude the Judicial giancrl
                                                                                 during the pindemic to avoid unnecessary risk of
and require Bop to defy the cDC's guidance to restrict prisoner movements
spreading the virus."
                                                                                            telling the Supreme Court that BOP
 On Friday morning, the inmate petitioners represented !.V_the- Ohio ACLU responded,
              ,,have made limited efforts to reduce the CoVl-D.19 risks within the prison." Nearly 80% of the population has not
 Elkton staff
                         CASE 0:19-cr-00097-NEB-BRT Doc. 55 Filed 06/08/20 Page 6 of 7
                                                                                                                            fagu<z)
                                                                                                                           m^l 25 2020
fRULINCS 79118080 - PROO, JOE CRUZ - Unit: RCH-B-A


                                                                           prisoners     24o/o -   testing positive' Elkton is running
reen tested. of sz4tests run, the prison only has results for 230, with 55
:ests only on MondaYs and TuesdaYs.
                                                                                                    the-inmate petitioners, telling
\lso on Friday, three physicians expert in conectional health filed a brief in the case supporting infection, and that their
:he court that vulnerable inmates at Elkton '"i"    niJr, risk of serious, life-threatening coVlD-19
:ontinued confinemeni   prtr *,"rn at a          "i
                                        heightened  risk of contracting and further spreading covlD-19''

A Supreme Court decision could come as early as Tuesday'

                                                                                    2020)
crder, Dkt. 85, Wilson v. williams, case No. 4:20cv00794 (N.D' Ohio, issued May 19,
                                                                                            Northern District of ohio and for an
Application for a stay of the Injunction lssued by the unile! llates District court for the
nbministrative Stay,-Williams v. Wilson, Case Nio' 19A-1041 (Supreme Court, May 20,        2o20)

                                                                                                   for the Northern District of ohio
opposition to Application for a Stay of the Injunction lssued by-tfe United States District Court
                                                                                    Court,  May   20,2020)
and for an Administrative Stay, Williams u. Wil.on, Case No. ign-tO+t     (Supreme

Motion for Leave to File Brief as Amicus curiae and Brief for Public Health Experts as
                                                                                       Amicus curiae supporting Respondents,
williams v. wilson, case No. 19A-1041 (Supreme Court, May 22,2020)


TIME FOR PHASE SEVEN
                                                                                          will begin moving about 6,800
The Bop launched phase Seven of its CoVID-1g Action Flan last week, announcing that it
                                                                                 prisons to avoid further jailovercrowding'
inmates who have been waiting in localdetention centers across the US to federal
                                                                                               Yazoo City and FCC Victorville'
The Bop will set up three designated testing and quarantine sites, FTC oklahoma City, FCC
                                                                                                 again when they are transferred
The transferees will be tested for CoVID-1g-when ihey arrive at the quarantine site facility
                                                                                             and
to their designation institution.

No plans have been announced for mass testing oJ current BoP.inmates, although
                                                                                   groups as diverse as the ACLU and the
Council of prison Locals (representing 30,000 ei'oe emptoyees) have called for universal testing in all prisons'

                                                                                                     from 2,402to 1,606, but the
The number of inmate covlD-19 cases reported by the BoP dropped througtrout the.past week
                                                                                              institutions with active CoVID-19
staff CoVID-19 case numbers have are onrv rligniry down, trom igo to 186.:fhe number of
                                                                                         At least   two facilities that had once
cases remains at 52. Three more inmates oieJ inis weet<, bringing the total dead to 10..
                                                                                                          one inmate and one staff
reported covlD-19 but were later declared to be virus-free are uict< on the list FCI Talladega   reports
                                                          just two weeks  ago    now  reports  24  inmates   and two staff sick with
member with the illness, and FMC Devens - with no cases
the virus.
                                                                                                  that while a May 6 CDc
The problem with the Bop numbers is that no one really belie_ves them. Reuters reported last week
                                                                                                        performed its own
,"port that surveyed local, state and federaifrisons forb^OVIO-t9 reported 5,000 inmate cases' Reuters
data analysis, and found about 17,300, over three times CDC's tally'
                                                                                                  noted that "over 3,000
The infectious disease experts who filed the Supreme Court amicus brief in the FCI Elkton case
                                                 gOP'r federal correctional facilities. Given the dearth of testing, these
confirmed cases of c,oronavirus have emerged in
numbers likely dramatically understate the problem."

                                                                                                      oakdale warden Rodney
Finally, in the wake of the oakdale coVlD-1g disaster, USA Today reports, the BoP. has reassigned
           ,,temporary duty. at the Bop South Central Regional offiie. i-tsR tooay said neither the BoP nor Myers responded to
Myers to
requests for comment.

Reuters, Across U.S., COVID-19 takes a hidden toll behind bars (May 18)

 USA Today, Feds reassign warden at Louisiana prison hit hard by coronavirus (May 22)

 KDBC-TV, El Paso, Texas, Federal prison system to begin moving nearly 7K inmates (May 22)
                                                                                             (May 2a)
 Detroit News, Chance of an early release for Kilpatrick raises questions, we've got answers
                                                                                        nLY L5; ? !.-D
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fRULINCS 79118080 - PROO, JOE CRUZ - Unit: RCH-B'A




VIEDIA, ADVOCACY GROUPS CALL OUT BOP'CRUEL INDIFFERENCE'
                                                                                                to home             confinement
             Bop was sending Michael cohen, president Trump's former lawyer, from FCI Otisville
rVord that the                                                                                       program'
                                                                              of the hOme detention
rnder the CARES Act has sparked wioespreal criticism of the BbP's management
                                                                                         while the BoP has been closed-mouth
lohen, serving a 36-month sentence, has not yet served half of his term. However,
                                                                                  within 18 months of his good-time release' cohen
rbout the release, it appears that as or vay zi,he had served zsi/o andwas
                        go   home last month, but rre was pulled trom ttre list because   he had not met the BoP's newly-ginned up
rvas originally slated to
ninimum sentence requirements'
                                                                                        Prisons has not been limited to cohen'
rhe washington post complained last Friday that the 'disorganization" at the Bureau of
,lnmates in several institutions have complained that the agency has issued shifting, sometimes contradictory directives about
ruho should be released, and applied the rules inconsistently The bureau's
                                                                            decisions on who getg 9-ut, though, have sparked
oonsiderable controveisy- tnat was especiatty true ior-tonejtime Trump  campaign   chairman Paull Manafort, who had been
imprisoned since 2018 and was serving a term of more than     seven years'"

Last week in Newsweek, a public defender and prison advocate wrote that "[w]e
                                                                                    aren't angry that Manafort will serve the
                                                                                       Virginia with. his r"f ify" Far from it: we are
remainder of his sentence from the comfort of h'rs three-bedroom home in tt6rthern
                                                                                         by the millions of other people caged in
outraged that the exact same reasonable argument and.urgent call for release made
                                                      of theii families, public defenders, advocates, organizers and medical
iails and prisons across the country with thetupport
professionals have been met with truel indlfferince or derision by those    with the power to do something"'

                                                                                         testified that an inmate seeking
ln a Massachusetts case heard last week, according to Law360, FMC Devens'warden
                                                    his sentence, and thus was  not considered   for CARES Act release' "As the
compassionate release had served less than half
warden was testifying,,,the judge said later, "the Bureau of PriSons evidently ordered
                                                                                        an exception to this requirement for
president Trump,s former campaign manager paul Manafort even though rrl rrac only served 23 months of a 77-month
                                                                                  probiems that place him at a particularly high
sentence. Every person and case is unique, and Mr. Manafort may nav-e health
                                                                                         other elderly inmates on the merits will
risk. However, making an exception to the doJi.v roinir and refusing to consider and
raise reasonable queitions about whether justice is indeed blind."
                                                                                             has increased by only 2,578,
since the CARES Act passed at the end of March, the number of people in home confinement
                                                                                    the Act passed'
about 1 .5% oftfre neaily 171,000 people in federal prisons and halfway houses when
                                                                                       former mayor Kwame Kilpatrick will be send
The latest high-profile release, at least in Detroit, is this pastweekend's rumor that
                                                                                   but unconfirmed release would release Kilpatrick
by the Bop to home detention for his remaining 17 years. The widely-reported
after fewer than seven years served'
                                                                                             view of what constitutes a prior crime of
Many prisoners are excluded from the home detention program by the B^oP's restrictive
violence and pATTERN risk assessment                 tn"t aien't-"minimum." some of those prisoners are^turning.to compassionate
                                             ""oi"r                                       in Decembe r 2018, only 144 people had
release motions under 1 usc 3sg2(cXr Xn). since Trump signed the First step Act
                          g
                                                                                                                  release'
been   granted such release through April 1st. since then, ioa irlsoners nationwide received compassionate
                                                                                   In a case decided last week, government
The Dept of Justice has been reflexively fighting compassionate release motions.
                                                                                     the pandemic as "a red herring'" DoJ
lawyers called compassionate release i "det oiut or iail Free card" and  referred to
contends that compassionate release is just judges micromanaging    prisons, that the BoP knows best whom to release, and
                                 plan  has contr6ttea the pandemiJand   makes   prison  a safer place to be than at home'
that the Bop,s covtD-1g Action
                                        paul Manafort Got to Leave Federal Prison Due to COVID-19. They're The Exception
The Marshall project, Michael Cohen and
 (May 21)
                                                                                 concerns (May 21)
The Washington post, Michael Cohen released from federal prison over coronavirus

 Newsweek, we,re Not Angry paul Manafort was Released. We're Angry Millions of
                                                                               others Weren't (May 18)

                                                                       (May 15)
 Law360.com Manafort's Release Helps Spring Ex-NFL Lineman From Prison
                                                                                          Kilpatrick free (May 22)
 Detroit Free press, covlD-19 outbreak that killed his fellow inmates will help set Kwame
